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                               UNITED STATES DISTRICT CO URT
                               SO UT H ERN D ISTR ICT O F FL O R ID A

                           CA SE NO .I:I7-CV-ZOOI8-G AY LESX U RN O FF


   DAVID JIA,
           Plaintiff,
   VS.

   U NIVER SITY O F M IA M I,a not-for-profit
   corporation;A N G ELA CA M ER O N ;
   K ATH A RINE W E STA W A Y,in her official
   and individualcapacities;and W ILLIA M
   AN TH O NY LA K E,in his officialand
   individualcapacities,

           Defendants.


                    ANGELA CAM ERON 'S RESPO NSES AND OBJECTIO NS
                    TO PLAINTIFF'S FIRST REOUEST FO R PRODUCTION

    Defendant,Angela Cnmeron (técameron''),hereby servesitsresponsesand
    objectionstotheFirstRequestforProductionpropoundedbyPlaintiff,DavidJia.
                                          GeneralObjections
            Cameronobjectstothedefinitionsandinstnlctionscontained inPlaintiff'sFirstRequest
            forProduction to the extentthatthey seek to im pose duties,responsibilities,requirem ents
            ancl/or obligations thatexceed orare differentfrom those im posed by applicable rules.In
            particular,Cameron objectstotheEsl-relatedinstructions,includingtherequestfora
            ûéRule26(9 conference,''whichisimproperatthislatedate;thepartiesalreadyheldtheir
            scheduling conference in July 2017 and atno tim e w asES1discovery discussed.
            A ccordingly,Cam eron willproduce responsive docum entsin PD F form atw hen possible.

         B.Cameronobjectstotherequeststotheextenttheyseekthedisclosureof(i)documentsor
            infonnation relating to com m unicationsbetw een Cam eron and previouslegalcounsel;
            (ii)documentsorinform ation to which theattorney-clientprivilege otherwisepertains;
            (iii)documentsorinform ation which were prepared fororin anticipationoflitigation or
            otherwisecontain orrelate to work product'
                                                     ,and/or(iv)documentsorinform ation which
            aresubjecttoanycommonlaw,statutoryorregulatoryproscriptionorexemptionfrom
            discovery.N o such docum cntsorinform ation w illbe provided,and any inadvertent
            disclosure orpartialdisclosure thereof shallnotbe deem ed a w aiverofany privilege or
            protection applicable to such inform ation.
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       C. Cam eron construes each requestnotto seek,and to state thatno privilege log isrequired
          for,legalm em oranda,draftsofpleadings,notes,docum ents selected and assem bled by
          Cam eron forthe purpose ofpreparing to representorrepresenting herselfin thism atteror
          to assertany claim s on herbehalf,docum entsprepared orselected and assem bled by
          C am eron forthe purpose ofpreparing courtpleadings and otherpapers,ordocum entsand
          com m unications thathave come into existence because ofanticipated or actuatlitigation.
          In otherinstances where a privilege is asserted,a privilege log w illbe furnished ata
          m utually-agreeable tim e and location.

       D.Cameronobjectstotherequestsinsofarastheyarevague,overbroad,undulyburdensome
          and/orseeking inform ation thatis irrelevantand/or notreasonably calculated to lead to
          the discovery of adlnissible evidence.

          Eachofthefollowingresponsesisgivensubjecttotheforegoinggeneralobjections.
                                       SpecificResponsesand Objections
       1. Alldocum entsidentified in your initialdisclosures.

          Response:Cam eron w illproduce docum entsin herpossession,custody orcontrolthat
          are responsive to thisrequest.

      2. AlIdocum ents thatrefer to,thatwere directed to,or thatw ere received from the
         Plaintiff.

          Response:Cnmeronobjectstothisrequestbecauseitisoverlybroad,isunduly
          burdensom e,seeksdocum entsneitherrelevantto any issue in this case nor reasonably
          calculated to lead to the discovery ofadm issible evidence and seeks docum entsthatare
          protected from disclosure by FERPA ,attorney-clientprivilege and/orthe w ork-product
          doctrine.Therequestisunlilnitedin subjectmatterandwouldencompassalldocuments
          thatçirefer''to Plaintiff.

      3. Alldocum entsrelated to yourcom plaintsagainstDavid Jia in 2014 and 2015.

          Response:Cameronobjectstothisrequestbecauseitisoverlybroad,isunduly
          burdensom e,and seeksdocum entsthatare protected from disclosure by FERPA ,
          attorney-clientprivilegeand/orthework-productdoctrine.Subjecttotheforegoing
          objectionCameronwillproducedocumentsinherpossession,custodyorcontrolthatare
          responsive to thisrequest.

      4. Alldocum entsrelated to David Jia'scomplaintsagainstyou in 2015.

          Response:Cameronobjectstothisrequestbecauseasphrased,itwould include
          docum entsprotected from disclosure by the w ork-productdoctrine,attorney-client
          privilege and/or FERPA .
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       5. Alldocum entsrelated to CanesConsentactivities/events,JusticeforAngela
          activities/events,and the petition.

          Response' .Cam eron w illproduce docum ents in herpossession,custody orcontrolthat
          are responsive to thisrequest.

       6. A lIofyour m edicalrecordsfrom the beginning of2014 untilpresent.

          Response:Cameronobjectstothisrequestbecauseitisoverlybroad,isunduly
          burdensom e,seeksdocum entsneitherrelevantto any issue in this case norreasonably
          calculated to lead to the discovery ofadrnissible evidence and seeks docum ents protected
          from disclosure by H IPPA and/orthe w ork-productdoctrine.

           AIIcom m unications(M eetings,Texts,Phone Calls,Em ails,SocialM edia M essages,
          etc-),involving any ofthefollowing parties:
                 a.Tony Lake
                 b.Steven Priepke
                 c.Patricia W hitely
                 d.Ricardo H all
                 e.Katharine W estaw ay
                 f.M aria Julia Sevilla
                 g.Form erU niversity PresidentDonna Shalala
                 h.OtherD eans and Deans'Assistantsw ho m ay have had any involvem ent,
                 including butnotlirnited to:

                        i.N icole J A bram son
                        ii.N ancy Alarcon DelPozzo
                        iii.D ayle W .W ilson

                 i.Everyone w ho m ay have been involved in Title IX investigations and/or
                 StaffD isciplinary investigations,including butnotlim ited to:

                        i.D avid Birnbach
                        ii.W ilhelm ina Black
                        iii.Roy Hinds

                 j.Policeand securityofficialswhowereinvolvedinallmattersrelatedtothe
                 Com plaint.
                 k.Anyoneinthemedia(newsreporters,journalists,editors,etc.)
                 1.A 11ofAngela Cam eron's ç'witnesses''from the 2014 and 2015 hearings
                 m .A nyone w ho worksforUniversity and is related to you as a fam ily
                 m em ber,extended fam ily m em berand/or fam ily friend
                 n.Al1otherUniversity faculty who you m ay have spoken to aboutanything
                 related to thisentire case
                 o.A1lotherstudentsand friendsw ho you m ay have spoken to aboutanything
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                related to this entire case

         Response:Cameron objectstothisrequestbecauseitisoverlybroad,isunduly
         burdensom e,seeks docum ents neitherrelevantto any issue in thiscase norreasonably
         calculated to lead to the discovery ofadm issible evidence and seeks docum entsthatare
         protected from disclosure by FERPA ,H IPPA ,the w ork-productdoctrine and attorney-
         clientprivilege.As phrased,the requestw ould also include infonnation notrelevantto
         thislawsuit(e.g.Cameron'sfinancialaid).Subjecttotheforegoingobjections,Cameron
         w illproduce non-privileged docum entsand com m unicationsin herpossession,custody
         orcontrolregarding the m attersalleged in thislaw suit.

      8. Allsocialm edia posts,tweets,statusupdates,etc.(from Twitter,Instagram ,
         Facebook,etc-)relevantto thiscase (whether theydirectly reference Jia ornot)
         Response:Cnm eron w illproduce docum entsin herpossession,custody orcontrolthat
         are responsive to this request.


                                                            R espectfully Subrnitted,



                                                            B y:
                                                            Ancr     am eron
                                                            26        207thSt.
                                                            CrystalLake Apartments#207
                                                            M iamiGardens,Fl.33056
                                                            305-401-1548
                                                            A ngela.cameronlzz3@ yahoo.com
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                                              CERTIFICATE O F SERVICE



 Via e-M ail:                                       V ia e-M ail:
 LonnieB.lkichardson,Esq.                           lsicoftlRagatz& Koenigsberb
 Lonnie B.Richardson,PA .                           601 BrickellK ey Drive,Suite 750
 690 Lincoln Road,Suite 204                         M iam i,Florida 33131
 M iamiBeach,Florida33139                           Tel:(305)373-3232
 Tel:(305)603-1323                                  Fax:(305)373-3233
 Fax:(305)428-9539                                  Email:-1:
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 CounselforPlainti
                 ff,DavidJia                        CounselforDefendants,University ofMiamiandAnthony
                                                    Lake

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                                                                         By:/s/Aneela Cam eron
                                                                               A ngela Cam eron
